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 VIA ECF

 The Honorable Brian Martinotti
 United States District Court
 Clarkson S. Fisher Fed. Bldg. & U.S. Courthouse
 402 East State Street
 Trenton, NJ 08608

        Re:     Par Pharm., Inc. et al. v. Sandoz Inc.,
                Civil Action No. 3:18-cv-14895-BRM-DEA

 Dear Judge Martinotti:

 We represent plaintiffs Par Pharmaceutical, Inc., Par Sterile Products, LLC, and Endo Par
 Innovation Company, LLC (collectively, “Par”) in the above-captioned suit. We are pleased to
 inform the Court that the parties have entered into a settlement agreement resolving all of the
 claims asserted in this case.

 In conjunction therewith, the parties submit the attached Stipulation of Dismissal. If acceptable
 to Your Honor, the parties respectfully request that you “So Order” the stipulation and enter it on
 the docket. The parties are available to discuss the stipulation of dismissal should Your Honor
 have any concerns about it.

 The parties thank Your Honor and Judge Arpert for all of your attention to this matter.


                                              Respectfully submitted,

                                              /s/ Brian M. Goldberg

                                              Brian M. Goldberg

 cc:    All Counsel of Record (via ECF and e-mail)
        Judge Douglas E. Arpert (via e-mail)
